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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DIGITAL TECHNOLOGIES LLC,

                       Plaintiff,
                                                        Civil Action No. 2:15-cv-999
               v.
                                                        JURY TRIAL DEMANDED
 VALVE CORPORATION,

                       Defendant.


                    NOTICE OF APPEARANCE OF TIMOTHY T. WANG

       Notice is hereby given that the undersigned attorney, Timothy T. Wang, enters his

appearance in this matter for Plaintiff, Digital Technologies LLC, for the purpose of receiving

notices and orders from the Court.

       DATED June 8, 2015.                 Respectfully submitted,

                                                   By: /s/ Timothy T. Wang
                                                   Timothy T. Wang
                                                   Texas Bar No. 24067927

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                                                   DIGITAL TECHNOLOGIES LLC
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Timothy T. Wang
                                                 Timothy T. Wang
